                        JOURNAL ENTRY AND OPINION
Matthew Williams, relator, filed a petition for a writ of mandamus to compel respondent, Judge Steven J. (sic) Celebrezze, to issue findings of fact and conclusions of law for the denial of his petition for postconviction relief and to issue a ruling on a Civ.R. 60(B) Motion for Relief From Judgment filed in C.P. Case No. CR-351208. Respondent, Judge Frank D. Celebrezze, Jr., moved for summary judgment and attached a file-stamped copy of the requested findings, which were filed in C.P. Case No. CR-351208 on May 24, 2000. On July 10, 2000, respondent supplemented his summary judgment motion with a file-stamped copy of a journal entry wherein respondent denied relator's Civ.R. 60(B) motion on July 6, 2000. This action is now moot since the requested relief has been performed. A writ of mandamus cannot be issued to compel an act already performed. State ex rel. Jerningham v. Cuyahoga CountyCourt of Common Pleas (1996), 74 Ohio St.3d 278, 658 N.E.2d 723. Accordingly, respondent's motion for summary judgment is granted.
Writ denied. Costs to respondent.
TERRENCE O'DONNELL, J. CONCURS
  ________________________________ ANN DYKE ADMINISTRATIVE JUDGE